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                UNITED STATES DISTRICT COURT
                NORTHERN DISTRICT OF FLORIDA
                    TALLAHASSEE DIVISION


LEROY PERNELL, et al.,

                 Plaintiffs,         Case No. 4:22-cv-304-MW-MAF

           v.

FLORIDA BOARD OF GOVERNORS
OF THE STATE UNIVERSITY
SYSTEM, et al.,

                 Defendants.




       DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT
                 OF MOTION TO DISMISS


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September 22, 2022
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                                 INTRODUCTION

       Article III grants federal courts the power to “decide only matters ‘of a

Judiciary Nature,’” not to “issue advisory opinions.” TransUnion LLC v. Ramirez,

141 S. Ct. 2190, 2203 (2021) (quoting 2 THE RECORDS                 OF THE    FEDERAL

CONVENTION OF 1787, at 430 (Max Farrand ed., 1911)). Accordingly, a plaintiff can

call upon the federal courts to adjudicate grievances against a state law only if the

plaintiff demonstrates that the law in fact causes some concrete injury, that the injury

is actually traceable to the challenged provisions of the law, and that a judgment

striking down the law would redress that injury. Lujan v. Defs. of Wildlife, 504 U.S.

555, 560–61 (1992).

      Plaintiffs’ claims fall short of Article III’s requirements in multiple respects.

First, no Plaintiff has standing to sue the Florida Board of Governors, its members,

or the Commissioner of the State Board of Education, because those officials and

entities have no role in enforcing the Act against individual professors (or students)

like Plaintiffs. Any injury plaintiffs have suffered is thus not traceable to these

defendants, and they must be dismissed from the case. Second, Plaintiff Dunn lacks

standing to bring any claim, because he has not adequately alleged any injury

arguably caused by the Act. Third, even those Plaintiffs who are plausibly injured

by some provision of the Act have not alleged any injury from all of its provisions—

and so Plaintiffs’ challenge to the first, third, fifth, sixth, and seventh concepts

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enumerated by the Act must be dismissed, since no Plaintiff has credibly alleged or

averred that they wish to engage in any instruction genuinely contrary to them.

Accordingly, Plaintiffs’ claims must be dismissed in part under FED. R. CIV. P.

12(b)(1) for lack of jurisdiction.

      Plaintiffs’ Complaint also must be dismissed in its entirety on the merits under

FED. R. CIV. P. 12(b)(6). With respect to the first three Counts in the Complaint,

dismissal is required for the reasons articulated in our response to Plaintiffs’

Preliminary Injunction Motion, which is filed contemporaneously herewith.

      With respect to Count Four—the Equal Protection claim—dismissal is

appropriate because the Complaint alleges no concrete facts sufficient to meet the

legal elements of an actionable Equal Protection claim. Because the Act draws no

race-based lines on its face, Plaintiffs can state an Equal Protection race-

discrimination claim only by adequately alleging both that the Act, which is race-

neutral on its face, has a disparate impact on African-Americans and that it was

enacted with a racially-discriminatory motive. Yes, the Complaint includes

conclusory and threadbare legal assertions that these elements are met; but it does

not articulate concrete factual allegations sufficient to nudge Plaintiffs’ claim of race

discrimination over the line from the conceivable to the plausible. Plaintiffs’

allegations of disparate impact collapse upon scrutiny. They have no direct evidence

whatsoever that Florida’s lawmakers enacted the Act because of an invidious race-

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based motive. And while the indirect evidence they present may tell us a great deal

about racism in Florida in the 1950s and ‘60s, and may suggest that the purpose of

the Act was (as is obvious from its face) to prevent Florida-employed teachers from

advocating and endorsing certain concepts related to race relations in America, that

circumstantial evidence provides not even a hint that the Act was intended to

discriminate against African-Americans because of their race. To the contrary, the

whole point of the Act was to keep Florida’s tax dollars from funding the inculcation

of ideas that are contrary to the Equal Protection Clause’s bedrock principle: “the

simple command that the Government must treat citizens as individuals, not as

simply components of a racial, religious, sexual or national class.” Miller v. Johnson,

515 U.S. 900, 911 (1995) (cleaned up).

                                   BACKGROUND

   I.      Florida’s Elected Officials Enact the Individual Freedom Act.

        Earlier this year, pursuant to its authority to “establish education policy, enact

education laws, and appropriate and allocate education resources,” FLA. STAT.

§ 1000.03(2)(a), the Florida Legislature passed the Individual Freedom Act (“the

Act”). See 2022 Fla. Laws 72. Governor DeSantis approved the Act on April 22, and

it took effect on July 1. See 2022 Fla. Laws 72, § 8.

        As relevant here, the Act amended the Education Code to enumerate actions

that constitute “discrimination on the basis of race, color, national origin, [or] sex”


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and are thus prohibited under Section 1000.05(2). Id. § 2. Specifically, the Act

prohibits “subject[ing] any student or employee to training or instruction that

espouses, promotes, advances, inculcates, or compels such student or employee to

believe any of the following concepts:”

      1.    Members of one race, color, national origin, or sex are morally
            superior to members of another race, color, national origin, or
            sex.
      2.    A person, by virtue of his or her race, color, national origin, or
            sex, is inherently racist, sexist, or oppressive, whether
            consciously or unconsciously.
      3.    A person’s moral character or status as either privileged or
            oppressed is necessarily determined by his or her race, color,
            national origin, or sex.

      4.    Members of one race, color, national origin, or sex cannot and
            should not attempt to treat others without respect to race, color,
            national origin, or sex.
      5.    A person, by virtue of his or her race, color, national origin, or
            sex, bears responsibility for, or should be discriminated against
            or receive adverse treatment because of, actions committed in the
            past by other members of the same race, color, national origin,
            or sex.
      6.    A person, by virtue of his or her race, color, national origin, or
            sex, should be discriminated against or receive adverse treatment
            to achieve diversity, equity, or inclusion.

      7.    A person, by virtue of his or her race, color, sex, or national
            origin, bears personal responsibility for and must feel guilt,
            anguish, or other forms of psychological distress because of
            actions, in which the person played no part, committed in the past
            by other members of the same race, color, national origin, or sex.

      8.    Such virtues as merit, excellence, hard work, fairness, neutrality,
            objectivity, and racial colorblindness are racist or sexist, or were
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             created by members of a particular race, color, national origin, or
             sex to oppress members of another race, color, national origin, or
             sex.

FLA. STAT. § 1000.05(4)(a)(1)–(8) (as amended by the Act).

      The Act, however, draws a sharp distinction between indoctrination and

discussion: it prohibits all persons from subjecting a student or employee to believe

these concepts, but at the same time makes clear that it does not “prohibit discussion

of the concepts . . . as part of a larger course of training or instruction, provided such

training or instruction is given in an objective manner without endorsement of the

concepts.” FLA. STAT. § 1000.05(4)(b).

      The Florida Board of Governors is vested with the authority to “adopt

regulations to implement [§ 1000.05] as it relates to state universities.” FLA. STAT.

§ 1000.05(6)(b). Pursuant to that authority, the Board recently finalized Regulation

10.005 to implement the Act. See 10.005, Prohibition of Discrimination in

University Training or Instruction, BD. OF GOVERNORS, STATE UNIV. SYS. OF FLA.

(Aug. 26, 2022), available at https://bit.ly/3xqDCX8 (“Regulation 10.005”). Under

the Regulation, the Board takes enforcement action only against a university that

“willfully and knowingly failed to correct a violation of the university regulation.”

Regulation 10.005(4)(a).




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   II.      Plaintiffs Challenge the Act Under the First Amendment and Due
            Process Clause.

         Plaintiffs are six current professors at Florida universities, one professor

emeritus who hosts a university-sponsored bus tour, and one university student.

Together, they argue that the Act violates their rights under the First Amendment

and under the Fourteenth Amendment’s Due Process and Equal Protection Clauses.

         The Plaintiffs are affiliated with different Florida universities. Leroy Pernell

is a Professor of Law at Florida A&M University College of Law. Dana Thompson

Dorsey is an Associate Professor with tenure at the University of South Florida.

Sharon Austin is a Professor of Political Science with tenure at the University of

Florida. Shelley Park is a Professor and Jennifer Sandoval is an Associate Professor,

both at the University of Central Florida. Marvin Dunn is a Professor Emeritus at

Florida International University, where he hosts a university-sponsored bus tour.

Russell Almond is an Associate Professor at Florida State University, where Johana

Dauphin is a student.

         Defendants now move to dismiss Plaintiffs’ claims in their entirety or,

alternatively, in part, under FED. R. CIV. P. 12(b)(1) and FED. R. CIV. P. 12(b)(6).

                              STANDARD OF REVIEW

         Regulation 12 provides that a claim may be dismissed for either “lack of

subject matter jurisdiction” or “failure to state a claim upon which relief can be

granted.” Id. Under Regulation 12(b)(1), “[t]he burden for establishing federal
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subject matter jurisdiction rests with the party bringing the claim.” Williams v.

Poarch Band of Creek Indians, 839 F.3d 1312, 1314 (11th Cir. 2016). The plaintiff

“must clearly and specifically set forth facts to satisfy” the injury-in-fact

requirement. Muransky v. Godiva Chocolatier, Inc., 979 F.3d 917, 924–25 (11th Cir.

2020) (cleaned up).

        “Under Rule 12(b)(6), a court should dismiss [a claim] … when the plaintiff’s

factual allegations, if true, don’t allow the court to draw the reasonable inference that

the defendant is liable for the misconduct alleged.” Ziyadat v. Diamondrock Hosp.

Co., 3 F.4th 1291, 1295 (11th Cir. 2021) (cleaned up). The court must “view the

complaint in the light most favorable to the plaintiff and accept all of the plaintiff’s

well-pleaded facts as true,” but it cannot credit “mere conclusory statements,” id. at

1295–96, and a plaintiff’s allegations must be supported with enough detail to

“nudge[ ] their claims across the line from conceivable to plausible,” Bell Atl. Corp.

v. Twombly, 550 U.S. 544, 570 (2007).

                                    ARGUMENT

   I.      No Plaintiff Has Standing To Sue Any Defendant Board of Trustees
           Other Than That of the Plaintiff’s Home Institution.

        Each Plaintiff is affiliated with only one university in the Florida University

System. It obviously follows that no Plaintiff can allege an injury-in-fact that is

traceable to and redressable by the Board of Trustees for any university with which

that Plaintiff is not affiliated. For example, Plaintiff Leroy Pernell, who is a Professor
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of Law at Florida A&M University College of Law, has not (and cannot) allege an

injury-in-fact that would be traceable to and redressable by the Defendant Boards of

Trustees of the University of Florida, the University of South Florida, or any of the

other university defendants. Accordingly, in the event that the Court finds that any

individual Plaintiff lacks standing in this case, the Defendant Board of Trustees for

that Plaintiff’s university should also be dismissed.

   II.      Plaintiff Dunn Lacks Standing on All Claims Because the Act Does
            Not Apply to His Bus Tour.

         Plaintiff Dunn has also failed to allege standing because the bus tour that he

leads is not a “training or instruction” covered by the Act.

         Dunn is a Professor Emeritus at Florida International University who leads a

“Black history bus tour of Miami,” funded by FIU. Pls.’ Compl. (“Compl.”), Doc.

1, ¶ 28 (Aug. 18, 2022). Dunn alleges that “he fears that the discussions about his

past experiences of discrimination with white colleagues” while on his bus tour will

violate the Act, and that his bus tour will violate the Act’s requirement “that

instructors be ‘objective’ when discussing certain topics related to race.” Id. at ¶ 30.

In fact, Dunn’s bus tour is not governed by the Act at all and does not restrict his

actions while conducting the tour.

         The Act defines discrimination to include “training or instruction” that

espouses one of eight prohibited concepts. FLA. STAT. § 1000.05(4)(a)(1)–(8). And

Regulation 10.005, which enforces the Act, defines “instruction” as “the process of
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teaching or engaging students with content about a particular subject by a university

employee or a person authorized to provide instruction by the university within a

course.” Regulation 10.005(1)(c) (emphasis added). Dunn’s bus tour does not occur

within any course offered by Florida International University, so it cannot qualify as

“instruction” under the Act. Regulation 10.005 defines “training” as “a planned and

organized activity conducted by the university as a mandatory condition of

employment, enrollment, or participation in a university program,” and Dunn’s bus

tour does not fall within that definition either. Regulation 10.005(1)(b) (emphasis

added). Dunn’s bus tour is voluntary and is not a condition of any student’s

participation or enrollment in any university program. Accordingly, Dunn should be

dismissed as a plaintiff in this case. 1

   III.    No Plaintiff Has Standing to Assert an Injury to Other Professors,
           Students, or Universities.

       These Plaintiffs cannot rescue their standing by pointing to the alleged injuries

suffered by other individuals or entities. Several of Plaintiffs, including Plaintiffs

Austin, Almond, and Dunn, speak extensively about alleged harms to professors,

students, or universities who are not parties in this case. See, e.g., Decl. of Sharon

Austin in Supp. of Pls.’ Mot. for a Prelim. Inj. (“Austin Decl.”), Doc. 13-3, ¶¶ 45–



       1
        Consequently, the Board of Trustees of FIU must also be dismissed as a
defendant because no other Plaintiff has alleged an injury-in-fact that is traceable to
and redressable by the FIU Board of Trustees.
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57 (Aug. 24, 2022) (describing alleged harms to internal funding, professor

recruitment and retention, student access to information, student respect for

instructors, minority student recruitment and retention, retaliation against other

professors, tenure decisions, outside funding for race studies research, and alleged

“chill” of campus discussions); Decl. of Dr. Russel G. Almond in Supp. of Pls.’ Mot.

for a Prelim. Inj. (“Almond Decl.”), Doc. 13-6, ¶¶ 34–35 (Aug. 24, 2022) (asserting

potential harm of university funding loss and concern “about how my graduate-level

students will perform in their fields after graduation”); Decl. of Dr. Marvin Dunn in

Supp. of Pls.’ Mot. for a Prelim. Inj. (“Dunn Decl.”), Doc. 13-7, ¶ 15 (Aug. 24, 2022)

(expressing fear over loss of university funding); see also Decl. of Leroy Pernell in

Supp. of Pls.’ Mot. for a Prelim. Inj. (“Pernell Decl.”), Doc. 13-1, ¶¶ 27, 29 (Aug.

24, 2022); Decl. of Dana Thompson Dorsey in Supp. of Pls.’ Mot. for a Prelim. Inj.

(“Dorsey Decl.”), Doc. 13-2, ¶¶ 38–39, 46, 50, 52–57 (Aug. 24, 2022); Decl. of

Shelley Park in Supp. of Pls.’ Mot. for a Prelim. Inj. (“Park Decl.”), Doc. 13-4, ¶¶

32–33, 35–36 (Aug. 24, 2022); and Decl. of Jennifer Sandoval in Supp. of Pls.’ Mot.

for a Prelim. Inj. (“Sandoval Decl.”), Doc. 13-5, ¶ 28 (Aug. 24, 2022).

      These assertions of third-party harms cannot form the basis of an injury-in-

fact for any Plaintiff. An injury-in-fact is “a harm suffered by the plaintiff that is

‘concrete’ and ‘actual or imminent, not ‘conjectural’ or ‘hypothetical.’’” Steel Co.

v. Citizens for a Better Env’t, 523 U.S. 83, 103 (1998) (emphasis added). “In an

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ordinary case, a plaintiff is denied standing to assert the rights of third parties.”

Young Apartments, Inc. v. Town of Jupiter, Fla., 529 F.3d 1027, 1041 (11th Cir.

2008). Plaintiffs do not, and could not, allege that they may assert third-party

standing to raise these alleged harms on behalf of other professors, students, and

universities.

   IV.    Plaintiff Dauphin Lacks Standing To Challenge the Act as an
          Instructor.

      Plaintiff Johana Dauphin is a student at Florida State University, and as such,

she lacks standing to challenge the Act as an instructor. In her declaration, Dauphin

alleges that the Act restricts her classroom speech because she says she “can no

longer express certain views when [she is] acting as an ‘instructor,’” by, for example,

“express[ing] [her] opinion that it is unhelpful for people to work on demonstrating

that they [are a] good person instead of working on unlearning the unconscious

prejudices that led them to saying the racist remark.” Decl. of Johana Dauphin in

Supp. of Pls.’ Mot. for a Prelim. Inj. (“Dauphin Decl.”), Doc. 13-8, ¶ 23 (Aug. 24,

2022).

      Student participation in classroom discussions is not covered by the Act. The

Act defines discrimination to include “training or instruction” that espouses one of

eight prohibited concepts. FLA. STAT. § 1000.05(4)(a)(1)–(8). As defined by the

Board of Governor’s Regulation 10.005, “instruction” is “the process of teaching or

engaging students with content about a particular subject by a university employee
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or a person authorized to provide instruction by the university within a course.”

Regulation 10.005(1)(c) (emphasis added). Dauphin is neither a university employee

nor a person authorized to provide instruction to other students. Accordingly,

Dauphin should be dismissed as to claims (1), (3), and (4) of the Complaint.

   V.      Plaintiffs Lack Standing To Challenge the First, Third, Fifth, Sixth,
           and Seventh Concepts.

        Even those Plaintiffs who do have standing to challenge certain provisions of

the Act do not have standing to challenge the Act as an undifferentiated, unified

whole. “Standing is not dispensed in gross. Rather, a plaintiff must demonstrate

standing for each claim he seeks to press and for each form of relief that is sought.”

Davis v. FEC, 554 U.S. 724, 734 (2008) (cleaned up) (citation omitted).

Accordingly, Plaintiffs cannot leverage an alleged injury under one of the Act’s eight

concepts into a challenge against—and entitlement to a preliminary injunction

barring the enforcement of—other prohibited concepts that they have alleged no

intention of espousing, not to mention the Act as a whole. And for several provisions

of the Act, no Plaintiff alleges any injury.

        No Plaintiff states an intention to teach that “[m]embers of one race, color,

national origin, or sex are morally superior to members of another race, color,

national origin, or sex,” FLA. STAT. § 1000.05(4)(a)(1), or that “[a] person, by virtue

of his or her race … bears responsibility for, or should be discriminated against or

receive adverse treatment because of, actions committed in the past by other
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members of the same race,” FLA. STAT. § 1000.05(4)(a)(5). Nor does any Plaintiff

clearly state an intention to teach that “[a] person’s moral character or status as either

privileged or oppressed is necessarily determined by his or her race, color, national

origin, or sex.” FLA. STAT. § 1000.05(4)(a)(3). Plaintiff Sandoval is the only Plaintiff

to discuss this principle, but she merely states her belief that no “professor could

teach a course on critical race theory without advancing” that principle. Sandoval

Decl. ¶ 21. She does not meaningfully explain why. And in any event, Sandoval

herself does not teach critical race theory—and as explained above, she cannot claim

standing to defend the interests of the unspecified professors who do. See supra, Part

III.

         No Plaintiff challenges the Act’s sixth principle either, which states that “[a]

person, by virtue of his or her race, color, national origin, or sex, should be

discriminated against or receive adverse treatment to achieve diversity, equity, or

inclusion.” FLA. STAT. § 1000.05(4)(a)(6). Plaintiff Almond purports to do so, but

he claims only that he cannot instruct his statistics students about the need to have a

“diverse body of reviewers” review assessments, Almond Decl. ¶ 26, and that has

nothing to do with the sixth principle, which advocates adverse treatment against an

individual based solely on race, color, national origin, or sex.

         Similarly, with respect to the Act’s seventh concept, Plaintiffs’ claims fail for

lack of standing because they are premised on fundamental misunderstandings about

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what that concept covers. The Act’s seventh principle prohibits teaching that “[a]

person, by virtue of his or her race, color, sex, or national origin, bears personal

responsibility for and must feel guilt, anguish, or other forms of psychological

distress because of actions, in which the person played no part, committed in the past

by other members of the same race, color, national origin, or sex.” FLA. STAT. §

1000.05(4)(a)(7). Plaintiffs misread this provision to restrict any teaching that

merely has the effect of making a student feel guilt, anguish, or other forms of

psychological distress for historical racism. See Dorsey Decl. ¶¶ 35, 47; Park Decl.

¶¶ 19, 25; Sandoval Decl. ¶ 12; Dunn Decl. ¶ 14. But the Act only restricts

advocating the proposition that a student must feel guilt, anguish, or other forms of

psychological distress, and no Plaintiff admits to intending to teach that. See Order,

Falls v. DeSantis, No.22-cv-166, Doc. 68, at 9–10 (N.D. Fla. July 8, 2022).

Plaintiffs’ challenge to this concept is thus based on an alleged “subjective ‘chill’”

rather than an objectively reasonable “threat of specific future harm” under the Act.

Laird v. Tatum, 408 U.S. 1, 13–14 (1972).

   VI.   Counts One, Two, and Three Should Be Dismissed Because Plaintiffs
         Have Failed to State a Claim Under the Free Speech or Due Process
         Clauses.

      Counts One, Two, and Three should also be dismissed in their entirety because

they fail to state a claim for the reasons set out in Defendants Memorandum in

Opposition    to    Plaintiffs’   Motion        for   Preliminary   Injunction,   filed


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contemporaneously with this Motion, which are hereby incorporated by reference.

All of Plaintiffs’ Free Speech and vagueness claims fail on their merits. The Act’s

educational provisions regulate only curricular speech, which is pure government

speech, so the First Amendment simply does not apply; and even if it did, (1)

Florida’s decisions concerning the content of curricular speech must prevail in

disputes with individual educators and (2) the State’s indisputably compelling

interest in preventing its educators from espousing the prohibited concepts, which

the State condemns as discriminatory and abhorrent, to Florida’s students would

justify any burden the Act may place on the Free Speech rights of individual

professors or students to advocate or hear those ideas on the State’s dime. And

because the Act gives fair notice, in readily understood language, of the conduct it

prohibits, it is not unconstitutionally vague.

   VII. Count Four Should Be Dismissed Because Plaintiffs Have Failed To
        State a Claim Under the Equal Protection Clause.

      Plaintiffs’ claim that the Act violates the Equal Protection Clause by

intentionally discriminating against African-Americans also fails as a matter of law.

The Act draws no explicit distinctions based on race—on its face, it prevents

teachers of any race from endorsing the prohibited concepts, which are themselves

race neutral. Because it is facially neutral, the Plaintiffs can state an Equal Protection

violation only if they plausibly allege both that the Act “has a racially

disproportionate impact” and “a racially discriminatory purpose.” Washington v.
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Davis, 426 U.S. 229, 239 (1976); see also Greater Birmingham Ministries v. Ala.

Sec’y of State, 992 F.3d 1299, 1321 (11th Cir. 2021). They have done neither.

           A.      Plaintiffs Have Failed To Plausibly Allege that the Act Has a
                   Disparate Impact on African-Americans.

      Plaintiffs’ claim fails to leave the starting gates because they have not pleaded

adequate factual material to lend plausibility to their threadbare allegation that the

Act will “have a disparate impact on Black students and instructors.” Compl. ¶ 199.

      1.        Plaintiffs’ primary support for their assertion of disparate impact is

based on the following chain of inferences: (i) the Act disproportionately restricts

the teaching of “instructors who teach Critical Race Theory, race studies, ethnic

studies, or otherwise discuss systemic racism, and gender and sex discrimination,”

id. at ¶¶ 183–84; and (ii) “Black instructors within Florida’s State University System

are more likely to teach courses on race studies, Critical Race Theory, ethnic studies,

and other courses that involve” the prohibited concepts, id. at ¶ 185; so therefore (iii)

“the law’s impact will bear particularly heavily on Black instructors, who are more

likely to teach on these topics,” id. at ¶ 240. This conclusion does not follow,

however, because Plaintiffs have not plausibly supported either of the premises.

      As an initial matter, Plaintiffs’ syllogism effectively ignores the Act’s

application to sex discrimination. Under the Act, instructors cannot teach that

individuals, solely because of their sex, are inherently sexist any more than that they,

solely because of their race, are inherently racist; they cannot teach that members of
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one sex “are morally superior” to members of the other sex any more than they can

teach that one race is morally superior. Indeed, all eight of the Act’s concepts apply

to sex discrimination in equal measure as race discrimination. And when the Act’s

application to sex discrimination is taken into account, Plaintiffs’ conclusory

allegation that “Black instructors . . . are more likely to teach courses . . . that

involve” the Act’s concepts, id. at ¶ 185, becomes completely implausible.

“Departments of African American Studies” may well be “predominantly staffed by

Black instructors,” id. at ¶ 186, but Plaintiffs do not even allege that departments of

sex and gender studies are.

         This shortfall is even more obvious at the K-12 level, where there are no

dedicated African-American studies departments. Plaintiffs do not allege that

African-Americans make up a disproportionate share of teachers in these grades

affected by the Act. Nor do they offer any justification for their decision to limit

their allegations of disparate racial impact to the “University System,” rather than

K-20, since the Act applies to teachers at all of these levels in equal measure. Id. at

¶ 185.

         Moreover, even if the Act’s application to sex discrimination could be

ignored, Plaintiffs have still failed to show a disparate impact. Yes, courses

involving “Critical Race Theory, race studies, [and] ethnic studies”, Compl. ¶¶ 183–

84, are likely to deal with material implicating the Act’s eight concepts, but they

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hardly have a monopoly on the subject matter. Courses across a wide range of

subjects may raise these concepts—indeed, Plaintiff Almond is a statistics professor,

and as Plaintiffs’ note, one legislator pointed during the drafting process to one

teacher’s discussion of “white privilege” in mathematics courses. Id. ¶ 115. Yet even

with respect to the Act’s application to race alone, Plaintiffs nowhere allege that the

category of K-20 teachers who wish to teach one or more of the Act’s concepts is

disproportionately comprised of African-Americans.

      2.     Plaintiffs also allege that the Act will have a disparate impact on “Black

students” by exposing them to an increased likelihood of “racial harassment and

discrimination.” Id. ¶¶ 194, 240. Plaintiffs’ theory is that “[i]nstruction about race,

and student awareness of racism, reduce the likelihood that students will engage in

racial harassment,” while “removing this instruction increases the likelihood that

students of color will experience increased racial harassment and discrimination.”

Id. ¶¶ 193–94. The problem with this argument is that the Act does not limit

“instruction” about race or “awareness of racism” in general. Such instruction

remains permissible so long as it does not include the endorsement of one of the

Act’s eight enumerated concepts. Plaintiffs do not allege—and it would be

completely implausible to conclude—that instruction endorsing the concepts the Act

actually prohibits would reduce racial harassment. Indeed, the Act prohibits the

inculcation of the eight enumerated concepts precisely because the state of Florida

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determined that they constitute racial discrimination and are thus the source of racial

division and harassment.

          B.    Plaintiffs Have Alleged No Direct Evidence of Intentional Race
                Discrimination.

      Even if Plaintiffs had adequately alleged a disparate impact, “[p]roof of

racially discriminatory intent or purpose is required to show a violation of the Equal

Protection Clause.” Vill. of Arlington Heights v. Metro. Hous. Dev. Corp., 429 U.S.

252, 265 (1977). Plaintiffs must allege sufficient factual matter to give rise to a

plausible inference that “racial discrimination was a substantial or motivating factor

behind enactment of the law.” Stout by Stout v. Jefferson Cnty. Bd. of Educ., 882

F.3d 988, 1006 (11th Cir. 2018). They have not done so.

      While Plaintiffs’ complaint includes conclusory allegations that the Act “was

enacted with the intent to discriminate against Black instructors and students,”

Compl. ¶ 9, it is entirely devoid of any direct evidence of such a discriminatory

purpose. Plaintiffs reproduce a number of statements from Governor DeSantis and

various supporters of the Act in the state legislature, but these statements, at most,

support the allegation that the Act “was enacted to suppress speech about systemic

racism, white privilege, and ‘Critical Race Theory,’” id. ¶ 93 (emphasis added)—

not that it was enacted to suppress or otherwise discriminate against a particular

race. Thus, while Plaintiffs quote Governor DeSantis, for example, stating that

“[t]here is no room in our classrooms for things like Critical Race Theory,” id. ¶ 94,
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that does not even remotely or conceivable imply that there is no room in our

classrooms for a particular race.

      Plaintiffs get no further by reciting various legislators’ promotion of “the

ideology of colorblindness,” or their opposition to those who “ask[] us to consider

people not as individuals but as groups.” Id. ¶¶ 118–19. Plaintiffs may reject “the

ideology of colorblindness” and embrace judging people by their race, but they have

not plausibly alleged that all those who disagree with them—and who continue to

believe that individuals should be judged “based on the content of their character

and based on their hard work and what they’re trying to accomplish in life,” rather

than “based on skin color,” id. ¶ 98—are racist, let alone necessarily racist. After

all, a society that treat[s] citizens as individuals” rather than members of a racial

group has been the aspirational goal of decades of Equal Protection jurisprudence.

See Miller, 515 U.S. at 911.

         C.     Plaintiffs’ Circumstantial Evidence Does Not Plausibly Support
                Any Inference of Intentional Race Discrimination.

      Because Plaintiffs lack any direct evidence that the Act was “the product of

intentional race discrimination,” League of Women Voters of Fla., Inc. v. Fla. Sec’y

of State, 32 F.4th 1363, 1372 (11th Cir. 2022), they can state an Equal Protection

claim only if they have adequately alleged sufficient circumstantial evidence of a

racially discriminatory motivation, under the test articulated by the Supreme Court



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in Arlington Heights. As the Eleventh Circuit has explained, that test considers such

factors as:

      (1) the impact of the challenged law; (2) the historical background; (3)
      the specific sequence of events leading up to its passage; (4) procedural
      and substantive departures; . . . (5) the contemporary statements and
      actions of key legislators[;]…(6) the foreseeability of the disparate
      impact; (7) knowledge of that impact; and (8) the availability of less
      discriminatory alternatives.”

Id. at 1373 (cleaned up) (citations omitted). Here, the first consideration does not

weigh in Plaintiffs’ favor because—as explained above—they have failed to

plausibly allege that the Act has any disparate impact on African-Americans. And

Plaintiffs also do not plausibly allege that any of the other factors give rise to an

inference of racial animus.

              1.   The “historical background” of the Act does not suggest that
                   it was enacted for a discriminatory purpose.

      Plaintiffs begin their discussion of the “historical background” of the Act in

1956, and the bulk of it concerns events that occurred in the 1960s and 1970s. There

is no question that African-Americans in Florida faced discriminatory violence and

oppression during this period. But binding Supreme Court and Eleventh Circuit

precedent makes clear that the racist actions that occurred in Florida during this era

cannot show that legislation enacted five to seven decades later in 2022 was racially

motivated. The Arlington Heights inquiry into a law’s historical background must

“be focused on the specific sequence of events leading up to the challenged decision


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rather than providing an unlimited lookback to past discrimination.” League of

Women Voters, 32 F.4th at 1373 (cleaned up). Otherwise, every modern action taken

by the Florida government could be shown to be intentionally racially

discriminatory. It does not diminish the grievous injury suffered by African-

Americans for much our Nation’s history to recognize that “[p]ast discrimination

cannot, in the manner of original sin, condemn governmental action that is not itself

unlawful.” Abbott v. Perez, 138 S. Ct. 2305, 2324 (2018) (cleaned up).

      Plaintiffs’ more recent “historical background” evidence also falls short.

Tragedies such as the 1996 police shooting of “an unarmed Black Teenager,” the

2012 “killing of Trayvon Martin,” or the killing of George Floyd, Compl. ¶¶ 67, 71,

73, do not show that the Florida legislature acted with racial animus when it passed

the Act in 2022. Florida’s legislators did not perpetrate these tragic acts and in fact

had nothing to do with them.

             2.     Neither the “events leading up to [the Act’s] passage” nor the
                    “statements and actions” of its legislative supporters indicate
                    any discriminatory motivation.

      Plaintiffs’ discussion of the Act’s more immediate historical context, far from

revealing some clandestine, racially discriminatory motive, confirms the purpose

that is plain from the Act’s text. The Act was not designed to oppress African-

Americans. It was designed to prevent State-employed teachers from inculcating a

set of controversial and highly contested concepts and policy prescriptions relating


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to race relations in America—concepts and policies that the People of Florida, in

their sovereign judgment, believe to be abhorrent and have determined to be

themselves racially discriminatory.

      That is shown by Plaintiffs’ lengthy discussion of the campus activism in the

two years leading up to the Act’s passage. The handful of student and faculty

demands recounted in Plaintiffs’ complaint that even potentially touch on issues

related to the Act do so only to the extent they advance concepts that the Act

prohibits—not because some of the students and teachers advocating those concepts

were African-American. Moreover, Plaintiffs’ narrative repeatedly describes how

Universities   welcomed      and      implemented    these   faculty    and    student

recommendations—by, for example, “including activities within courses that will

target dismantling racism,” and “developing mandatory diversity and inclusivity

training for all campus employees and students.” Id. ¶¶ 86, 88. To the extent that

Plaintiffs are right to infer that the Act was a response to these university actions,

that does not reveal any racial animus. Rather, it confirms that the purpose of the Act

is the one that is evident on its face: Florida’s determination that it no longer wants

teachers in the Universities and schools it operates to endorse and advocate, at

taxpayer expense, a set of controversial concepts that the People of Florida have

judged to be racially discriminatory and pernicious.




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      The statements of the Act’s supporters reproduced in the Complaint tell the

same story. As an initial matter, Plaintiffs cite statements by only five Florida

officials—Governor DeSantis, Representatives Avia, Massullo, and Andrade, and

Senator Diaz—and precedent makes clear that a court cannot “impute the

discriminatory intent of one or a few decisionmakers to the entire group.” Thai

Meditation Ass’n of Ala., Inc. v. City of Mobile, Ala., 980 F.3d 821, 836 (11th Cir.

2020); see also Greater Birmingham Ministries, 992 F.3d at 1324–25. But even if it

could, the statements cited by Plaintiffs, rather than revealing some sort of intent to

discriminate against African-Americans, again shows the legislature’s intent to

prevent Florida-employed teachers from endorsing particular, controversial

concepts. See, e.g., Compl. ¶¶ 86, 88, 125.

      Nor does the fact that the Act passed the legislature largely on racially divided

lines demonstrate that it was intended to be an instrument of intentional race

discrimination. Plaintiffs’ own allegations show that the vote tallies are far more

indicative of partisan divisions than of racial ones: one African-American member

in the Florida House—a Republican—voted in favor of the Act. See Compl. ¶ 121;

Florida House of Representatives, Passage, H.B. 7, 2022 Reg. Sess. (Feb. 24, 2022,

12:34 PM), https://bit.ly/3Uas4kI (recording Representative Barnaby’s yea vote); cf.

Abbott, 138 S. Ct. at 2314 (noting in the redistricting context that “because a voter’s

race sometimes correlates closely with political party preference, it may be very

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difficult for a court to determine whether a districting decision was based on race or

party preference” (citations omitted)). And binding Eleventh Circuit precedent

makes clear that such voting patterns do not support an Equal Protection claim so

long as the State “has provided valid neutral justifications . . . for the law’s passage,”

Greater Birmingham Ministries, 992 F.3d at 1326–27—here, preventing state-

employed teachers from inculcating in their classrooms concepts that Florida deems

to be racist and offensive.

      Finally, Plaintiffs attempt to indict the Act by highlighting its proximity to a

wholly unrelated statute—pointing to the legislature’s contemporaneous passage of

“Senate Bill 90, a restrictive voting law that was challenged by several nonprofit

groups.” Compl. ¶ 95. There is nothing to this. The Individual Freedom Act must be

assessed only on its own terms and its own legislative background. Indeed, if any

state law was subject to invalidation under the Equal Protection clause merely

because the State’s legislature also passed a (wholly unrelated) voting law that has

been challenged as racially discriminatory, the legislative process in over a half-

dozen States would be brought to a standstill. See Courtroom Battles, Access to the

Ballot, NAACP LEGAL DEF. & EDUC. FUND: VOTING RIGHTS 2022 (last visited Sept.

20, 2022, 5:47 PM), https://bit.ly/3xjP46Q.




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             3.    Plaintiffs do not identify any meaningful “procedural and
                   substantive departures” in the Act’s enactment process.

      Plaintiffs next attempt to identify “[d]epartures from the normal procedural

sequence” during the Act’s passage. Arlington Heights, 429 U.S. at 267. They come

up empty. Plaintiffs first claim that the Act’s language was “lifted” from “former

President Trump’s Executive Order 13950,” even though that Order was “ruled

unconstitutional over a year before H.B. 7 was introduced.” Compl. ¶ 129. But

Executive Order 13950 was enjoined on vagueness grounds, not Equal Protection

grounds; and the district court’s reasoning was principally based on language in a

Department of Labor FAQ—not the text that is shared by the Executive Order and

the Act. See Santa Cruz Lesbian & Gay Cmty. Ctr. v. Trump, 508 F. Supp. 3d 521,

544–45 (N.D. Cal. 2020).

      Plaintiffs’ next supposed procedural departure is that the Act’s legislative

supporters justified it by referring to educational “materials . . . [from] across the

nation” rather than from “classroom discussions or university lectures in Florida.”

Compl. ¶ 130. But elsewhere in the materials cited by Plaintiffs, the Act’s supporters

did point to examples from Florida schools. See 2/22/22 House Session, THE

FLORIDA CHANNEL, at 01:04:41—01:06:10 (Feb. 22, 2022), https://bit.ly/3BaLCN0.

And at any rate, Plaintiffs do not explain why Florida’s determination to address a

problem occurring in other States before it spreads to Florida is a “[d]eparture[ ]

from the normal procedural sequence.” Arlington Heights, 429 U.S. at 267.
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       Plaintiffs also complain that “the Florida legislature declined to formally

consult with any instructors throughout the bill drafting process,” and that “[i]nstead,

the legislature and Governor DeSantis’s office consulted with [Christopher] Rufo, a

Senior Fellow of the Manhattan Institute.” Compl. ¶¶ 131–32. But all these

allegations show is that the Act’s proponents focused their efforts on consulting with

individuals who supported the Act and believed it necessary—rather than groups

who opposed the Act and, in fact, represented the very teachers who the State feared

would likely endorse and inculcate one or more of the Act’s eight concepts. The

Act’s opponents in the legislature no doubt consulted with those who, likewise,

opposed its enactment. That does not depart from the normal legislative process; it

follows it.

       Plaintiffs’ final supposed procedural departure has nothing to do with the

substantive provisions of the Act, but rather with an enforcement mechanism

allowing the withholding of funding to universities that violate the Act, which

Plaintiffs allege was added “to a budget appropriation bill” throughout “the last few

weeks of the session.” Id. ¶ 135. So what? While Plaintiffs characterize the adoption

of this language as “a rushed process,” they do not allege that it was adopted more

rapidly, or with less debate, than other appropriation riders of this nature. And

Plaintiffs’ argument also ignores the substantial and lengthy debate that had already

occurred during the enactment of the Act’s substantive provisions. Given that earlier

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debate, the addition of this enforcement mechanism to the 2022 appropriation bill

“did not require a prolonged process,” and the “brevity of the legislative process”

cannot “can give rise to an inference of bad faith—and certainly not an inference

that is strong enough to overcome the presumption of legislative good faith” that

applies to all duly enacted legislation. Abbott, 138 S. Ct. at 2328–29.

      Even if one or more of the features of the Act’s passage singled out by

Plaintiffs did constitute a departure from the ordinary legislative process (and they

do not), such “procedural abnormalities are only relevant within a larger scope” or

“context that renders th[e] deviation suspect.” Hallmark Devs., Inc. v. Fulton Cnty.,

Ga., 466 F.3d 1276, 1285 (11th Cir. 2006). And Plaintiffs allege no reason—none

at all—to conclude that any of their supposed procedural departures is actually

indicative of racial animus.

             4.     The purported “foreseeability” and legislative “knowledge”
                    of the Act’s supposed “disparate impact” do not give rise to
                    any inference of racial animus.

      Plaintiffs also claim that the Court should infer a racially discriminatory

motive because the Act’s “opponents put the legislature on notice that it would have

a disparate impact on Black students and instructors.” Compl. ¶ 199. This argument

fails, first, because its premise is false: as shown above, supra Part VII. A, Plaintiffs

have failed to credibly allege that the Act in fact has any disparate impact on African-

Americans. But even granting Plaintiffs’ that premise, the argument still fails,


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because none of the statements identified in the Complaint actually pointed to the

supposed “disparate impact” that Plaintiffs now allege.

      Student Plaintiff Dauphin, for instance, did testify that she experienced

various instances of racism in school and that, in her opinion, the legislature

“do[esn’t] seem to care about that.” Id. ¶ 200. But Plaintiffs do not allege that she

testified that the Act would have any disparate impact on African-American

students. The statements by other students, and by the ACLU, are cut from the same

cloth—none identify any of the purported disparate impacts alleged in Plaintiffs’

complaint. Id. ¶¶ 201–05.

      Finally, even if Plaintiffs had adequately demonstrated that the Act will have

a disparate racial impact and that the Legislature was actually put on notice of that

impact, that would at most “demonstrate[ ] ‘an awareness of consequences,’ which

is insufficient to establish discriminatory purpose.” League of Women Voters, 32

F.4th at 1373–74. Plaintiffs’ complaint includes no credible allegations giving rise

to the inference that the legislature enacted the Act “at least in part ‘because of,’ not

merely ‘in spite of,’ its adverse effects upon an identifiable group.” Pers. Adm’r of

Mass. v. Feeney, 442 U.S. 256, 279 (1979).




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             5.     The State reasonably concluded that none of Plaintiffs’ “less
                    restrictive” alternatives to the Act would adequately
                    accomplish its compelling interests.

       Finally, Plaintiffs fault the State for passing the Act rather than other available,

less-restrictive alternatives. They allege that the legislature rejected “at least ten (10)

proposed amendments that would have been less restrictive.” Compl. ¶ 163. But the

legislature did adopt numerous other amendments during the enactment process, see

House Bill 7, Amendments, THE FLORIDA SENATE (last visited Sept. 21, 2022, 10:23

AM), https://bit.ly/3ePqzIp, so it is not as though it “categorically refuse[d] to

consider changes.” Abbott, 138 S. Ct. at 2329. And even if the Act’s supporters did

“generally hope[ ] to minimize amendments” that “hardly shows that [it] acted with

discriminatory intent.” Id. Nor does the existence of other “provisions in state and

federal law” that “protect against . . . race discrimination,” Compl. ¶ 162, give rise

to any inference of racial animus. The State concluded that these other legal

protections were insufficient to prevent the form of race discrimination it enacted the

Act to curb. The Equal Protection Clause is not a straitjacket confining the States to

striking at only those aspects of race discrimination addressed by preexisting law.

                                    CONCLUSION

       For the foregoing reasons, Defendants’ motion to dismiss should be granted.




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Dated: September 22, 2022              Respectfully Submitted,

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                     CERTIFICATE OF WORD COUNT

      Pursuant to Northern District of Florida Rule 7.1(F), the undersigned counsel

hereby certifies that the foregoing Defendant’s Memorandum of Law in Support of

Motion to Dismiss, including body, headings, quotations, and footnotes, and

excluding those portions exempt by Local Rule 7.1(F), contains 7,247 words as

measured by Microsoft Office for Word 365.

                                                  s/     Charles J. Cooper
                                                         Charles J. Cooper
